               Case 6:19-bk-00297-CCJ         Doc 19    Filed 04/12/19   Page 1 of 1



                                           ORDERED.

         Dated: April 12, 2019




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION
                                   www.flmb.uscourts.gov

In re:

Marie Edna Pluviose,                                   Chapter 7
                                                       Case No.: 6:19-bk-00297-CCJ
      Debtor.
_______________________________/

                   ORDER DISMISSING CASE WITH 180 DAY INJUNCTION


          This case came before the Court for hearing on April 9, 2019 on the Order to Show Cause

Why Case Should Not be Dismissed With a Two Year Injunction (Doc. No. 9; the “Order”). For

reasons stated in open court, it is

          ORDERED:

          1.     This case is dismissed.

          2.     In accordance with 11 U.S.C. § 105(a) and § 109(g), the debtor is enjoined from

filing for relief under Title 11 of the United States Code, anywhere in the United States of

America, for 180 days (until September 6, 2019).




Clerk’s office to serve
